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                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                *         CRIMINAL NO. 19-082

            V.                          *         SECTION : “R”

JAMES LIM                               *
 a/k/a “Jimbo”
                                        *

                               *        *         *

MEMORANDUM IN SUPPORT OF MOTION FOR RECONSIDERATION
  TO DEFENDANT’S MOTION REQUESTING RELEASE ON BAIL
                   PENDING TRIAL

      Defendant JAMES LIM, by and through his attorneys of record, Robert Glas

and Victor Sherman, hereby submit the Memorandum in Support of the request for

reconsideration of his Motion Requesting Release on Bail Pending Trial.

DATED: July 23, 2019                 Respectfully submitted,

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                                   OVERVIEW

       A Federal Grand Jury sitting in the Eastern District of Louisiana indict

James Lim under seal on May 2, 2019 on one count of Conspiracy to Distribute 50

Grams or More of Methamphetamine in violation of 21 U.S.C. §841(a)(1),

§841(b)(1)(A), all in violation of 21 U.S.C.§ 846; and one count of Use of a

Communication Facility in Committing, Causing or Facilitating a Drug Trafficking

Felony, in violation of 21 U.S.C. §843(b). A federal warrant was issued for Lim’s

arrest at that time.

       On June 11, 2019, James Lim was arrested at Los Angeles International

Airport. Authorities contend that Lim was attempting to flee the United States. In

fact, this trip to Bali had been planned for some time. John Kim, whose letter to

the court is included in this report, was to travel with him, but Kim encountered a

problem with his passport at the airport. Lim had recently self-committed to a

detox program at Laguna Treatment Center in Aliso Viejo, California. The trip to

Bali was a continuance of his efforts to remove himself from any temptation to

“fall off the wagon.” Kim and others describe the trip as intended to be a spiritual

and rehabilitative one.

       On June 17, 2019, at a detention hearing held before the Honorable

Frederick F. Mumm, United States Magistrate Judge for the Central District of

California, Lim was ordered released on a $100,000 bond, secured by a property at


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4961 Borrego Dr., La Palma, California 90623. United States Attorney Peter G.

Strasser of the Eastern District of Louisiana subsequently issued a Motion for a

Stay of the Magistrate Court’s Release Order, pending a hearing on said Release

Order.


      James Lim’s personal background and community ties are relevant to the

twin considerations of flight and dangerousness, and are summarized herein. This

information was acquired through interviews of the defendant’s sister, a review of

the documentary evidence, and consideration of the numerous character letters

which are attached.


               PROPERTY TO BE PLEDGED FOR COLLATERAL

      Mr. Lim’s family is prepared to offer a substantial guaranty for his bail in

the form of real property, namely a house at 4961 Borrego Drive, La Palma,

California 90623. This property was granted by James Lim’s father, Moo Kwang

Kim, to James Lim’s mother, Jung Sim Lim, by way of Interspousal Transfer Deed

in 2007.

      The property at 4961 Borrego Drive is a 4 bedroom, 3 bath single-family

residence of 1926 square feet with an estimated value between $699,800 and

$763,000. The Lims own the house free and clear. Defendant Lim, his parents Moo

Kwang Lim and Jung Sim Lim, and his sister Sandy Lim reside at the property.


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             A REVIEW OF DEFENDANT’S PERSONAL
         BACKGROUND AND PHILANTHROPY UNDERSCORES
             HIS STRONG TIES TO THE COMMUNITY

   1. Defendant’s Personal Background

      James Lim was born in Los Angeles, California on June 30, 1987. Lim is,

however, a lifelong resident of Orange County, California having grown up in

Garden Grove, California. Lim has lived with his parents and sister Sandy Lim in

the family home at 4961 Borrego Drive in La Palma, California since 2007.

      Lim’s father, Moo Kwang Lim, and his mother, Jung Sim Lim, immigrated

to the United States from South Korea in the early 1980’s. Moo Kwang has made

a living in the U.S. in the related fields of violin performance, repair and lessons.

Jung Sim has devoted her life to raising her children and maintaining their

household. Lim’s sister Sandy is a Registered Nurse. Lim has over thirty aunts,

uncles, cousins, nieces and nephews in Southern California, mostly in Orange

County—a vast network of support.

      The Lims are lifelong churchgoers. James and his sister Sandy grew up

going to church retreats and doing missionary work. James attended the Southland

Church of Anaheim weekly until his arrest.

      Outside of church, Lim, either alone or with friends, has provided food,

clothing and children’s toys to the unfortunate people on Los Angeles’ skid row




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and elsewhere. He has done this regularly albeit quietly for years, and few outside

his immediate circle of family and friends know about it.

       James Lim attended Sierra Vista Middle School and received his diploma

from San Joaquin High School. He is single, but trying to reconcile with his

girlfriend.

   2. Defendant’s Employment History

       Mr. Lim is the proprietor of 6 Society, Inc, a clothing business incorporated

in California in 2013. According to cousin David Lim, “James’ clothing brand was

worn by famous music artists and celebrities as: Nipsey Hussle, Trey Songz and

Colin Kapaernick.”

       Lim has also held a number of jobs in Orange County, including positions at

a lighting company and a dental office.

   3. Community of Support

       Letters received in support of bail for the defendant reflect a strong current

of support for Mr. Lim. All the letters are attached, and some are excerpted here.

The letters to the Court emphasize James Lim’s commitment to his community,

which is clearly reciprocal. Mr. Lim’s longtime friend, Waymond Wue, writes:


              Through his own hard times and troubles, he has found a
              passion for helping people and giving back to the
              community. He always brainstorms and tries to figure
              out ways that we can help those less fortunate than us.
              He’s organized toy drives, food donations and clothing
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             donations, which inspired many of his peers to do the
             same.

      Krystal Wei writes:

             He is always there to serve others in his community and
             does it without any need for recognition… He is
             constantly learning and constantly changing, but one
             thing that remains the same is his desire to help others.

      Bryant Pham writes:

             James has always been an upright character in the
             community, from helping youth pastors at church, to
             feeding the homeless in L.A.

      Regarding Lim’s clothing company, family friend Michelle Nguyen writes:

             Like any new business, there were obstacles and
             setbacks, however James never gave up. After a lot of
             blood sweat and tears, James was able to start employing
             people. These people were able to have a secure job and
             support themselves.


   PRETRIAL DETENTION IS RARELY APPROPRIATE AND IS NOT

                    WARRANTED IN THE CASE AT BAR

   1. The Legal Standards Support Release on a reasonable Bail

      The doctrine that the federal courts are obligated to release those accused of

non-capital offenses under the least restrictive alternative conditions which will

provide reasonable assurance that the accused will appear in court is founded on

the Eighth Amendment and presumption of innocence. This traditional right to

freedom before conviction permits the unhampered preparation of a defense, and
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serves to prevent the infliction of punishment prior to conviction. United States v.

Bigelow, 544 F.2d 904, 908 (6th Cir. 1976). Unless this right to bail before trial is

preserved, the presumption of innocence, secured only after centuries of struggle,

would lose its meaning.

      On a motion for pretrial detention, it remains incumbent on the prosecution

to prove, by clear and convincing evidence, that the defendant is a danger to the

community and that no condition or conditions would reasonably assure the safety

of any other person and the community. See 18 U.S.C. §3142; United States v.

Hazime, 762 F.2d 34 (6th Cir. 1985). If that burden is not met, bail must be set.

      “The wide range of restrictions available ensures, as Congress intended, that

very few defendants will be subject to pretrial detention.” United States v. Orta,

760 F.2d 887, 891 (8th Cir. 1985). Release conditions available include curfews,

travel restrictions, reporting requirements, the use of radio bracelet warning

systems, and third party custody. See 18 U.S.C. §3142(c)(1); United States v.

Ojeda Rios, 846 F.2d 167, 169 (2nd Cir. 1988). Under this standard, the

government is unable to carry its burden of showing that no condition or

combination of conditions will reasonably assure James Lim’s appearance at trial

or the safety of the community.




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   2. The Risk of This Defendant Fleeing the Jurisdiction is Minimal

      James Lim respectfully submits that his release on reasonable bail pending

trial would create no meaningful risk of him failing to appear. He has strong

family ties in La Palma, Orange County, California, where he would reside

pending the outcome of this case. He has an entire family, consisting of his mother

and father, a sibling, and more than 30 aunts, uncles and cousins who have been

residents of La Palma and Orange County for many years.

      A recurring theme in letters submitted to the Court on Mr. Lim’s behalf is

his overarching commitment to his family, especially to his parents. James Lim’s

cousin David Lim writes:

            In the Korean tradition, the first son is given a duty to
            take care of their parents. James had a strong dedication
            towards adhering to the expectations from the Korean
            tradition.

      Bryant Pham writes:

            I know if his parents post property bond he will not flee
            the country because he will not risk the roof that is over
            his family’s head.

      Long-time friend John Kim writes:

            I can confidently say that James will never put his
            family’s well-being at stake no matter the situation. As a
            God-fearing man, James’ loyalty to his family is
            unwavering and unequivocal.

      United States Army veteran Eric Shin writes:


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             [James] is a very kind and deeply family-oriented man
             who would never jeopardize the well-being of his family.
             …I know for certain that should James be released on
             bail, he will do what is required to ensure the well-being
             of his family.

      Waymond Wue writes:

             I know that to secure his bail his parents are willing to
             put up their family home. This to him is just as serious as
             the case against him. His parents love him deeply, but
             they are sensible and would never put up their home if
             James was not of moral character. .… He would never
             jeopardize the family home by not showing up for court.
             … He will not run away from his family. He will not run
             away from these charges.

      Mr. Lim is willing to remain under home detention and readily agrees to

accept any further restrictions, including wearing an electronic monitoring bracelet.

In combination, these restrictions obviate any contention that he would pose a risk

of flight. See United States v. O’Brien, 895 F.2d 810 (1st Cir. 1990). In O’Brien,

the First Circuit Court of Appeals upheld the pre-trial release of Edward O’Brien, a

high-ranking federal drug agent charged with narcotics trafficking, subject to the

condition he wear an electronic monitoring bracelet, even though he had no

substantial ties to the community, had overseas connections, the evidence of his

guilt was strong, he lived near an international airport and had a seasoned

understanding of the inner workings of law enforcement. Id. at 816. Although the

appellate court found that O’Brien posed a risk of flight, they conclude that the

wearing if an electronic monitoring bracelet, combined with other conditions,
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rebutted the presumption of flight risk and concluded that the government had not

met its burden of showing that no condition or combination of conditions would

reasonably assure his appearance. Id at 817.


      Mr. Lim is willing to accept the most restrictive release conditions available.

It is respectfully submitted that he poses no risk of flight and that the government

is unable to meet the burden of showing that “no condition or combinations of

conditions” exist to reasonably assure his appearance at trial.

   3. The Defendant Poses No Danger to the Community

      Although the Bail Reform Act added “safety to the community” as a factor

to be considered in imposing detention, the cases interpreting the statute

consistently reiterate that “the passage of the pretrial detention provision of the

1984 Act did not…signal congressional intent to incarcerate wholesale the

category of accused persons awaiting trial.” United States v. Orta, supra, 760 F.2d

at 890.

      As the Orta Court explained: “[T]he legislative history stresses that the

decision to provide for pretrial detention is in no way a derogation of the

importance of the defendant’s interest in remaining at liberty prior to trial. It is

anticipated that pretrial release will continue to be appropriate for the majority of

Federal defendants. Id. at 890 (citing S.Rep. No.225, 98th Cong. 1st Sess. P. 12)

(emphasis in original).
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      Consistent with this, the statutory scheme continues to favor release over

pretrial detention, providing the judicial officer with alternatives to structure an

appropriate pretrial release. Id. At 890. Doubts regarding the propriety of release

should be resolved in favor of the defendant. The appropriate procedure in

detention hearings requires that the Court follow a statutory progression from

release on personal recognizance to conditional release before the Court can even

consider detention. Orta, 760 F.2d at 890-91; United States v. Maull, 773 F.2d

1479, 1482 (8th Cir. 1985) (en banc).

      Any concerns that Mr. Lim poses a risk could be addressed and ameliorated

by a heightened degree of monitoring. His movement could be kept to a minimum

by requiring him to wear an electronic bracelet, which could be imposed as a

special condition of his release on bond. He could be required to agree to a

residential search at any time, drug testing, or any other measures that the Court

might deem appropriate. Together, these measures would reasonably ensure that

Mr. Lim poses no flight risk or danger to the community.

                                  CONCLUSION

      James Lim’s family members and others close to the defendant have

indicated their willingness to assist in ensuring his appearance at all court hearings.

Lim is a natural-born United States citizen and long-time resident of Orange

County, California where he has extensive family and community ties. Defendant


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has a powerful disincentive to flee prosecution in that he would be essentially

forfeiting the family home––a grave and unpardonable betrayal. Any fear of this

defendant absconding could be allayed by electronic bracelet monitoring.

      For the forgoing reasons, Defendant James Lim respectfully asks the Court

to release him from pretrial custody pursuant to 18 U.S.C. §3142(c), and to set bail

at a reasonable amount to be secured by a property owned by his mother. Release

under such conditions would adequately ensure James Lim’s presence at all future

court hearings. Release on bond would also permit him to meet with undersigned

counsel in Los Angeles for the purpose of reviewing discovery materials and

assisting in the preparation of his legal defense.

DATED: July 23, 2019                    Respectfully submitted:

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                                       /s/Robert Glas
                                By:    _________________________________
                                       ROBERT GLAS


                         CERTIFICATE OF SERVICE

       I hereby certify that on July 23, 2019, I electronically filed the foregoing
with the Clerk of the Court by using the CM/ECF system which will send a notice
of electronic filing to K. Paige O’Hale, Esq., Assistant United States Attorney.


                                       /s/Robert Glas
                                       ___________________________________
                                       ROBERT GLAS




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